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                      Exhibit C
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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        FERNANDEZ, JUAN ALBERTO                                                   Reg #:           66884-112
Date of Birth:           /1983              Sex:      M    Race:WHITE                         Facility:        PHX
Note Date:          04/21/2020 14:18        Provider: Ford, Isaiah MD                         Unit:            P03


Admin Note - Consultation encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1             Provider: Ford, Isaiah MD
          Due to COVID pandemic, there has been a delay in transer. Will refer to general surgery for temporary and
          permanent HD access.

New Consultation Requests:
  Consultation/Procedure                         Target Date Scheduled Target Date Priority               Translator     Language
  General Surgery                                07/21/2020 07/21/2020             Urgent                 No
       Subtype:
             Gen Surg Procedure, NOS
          Reason for Request:
              Evaluation for AV fistula procedure ASAP
          Provisional Diagnosis:
            Kidney failure stage 4
            please send all labs prior to appt.
            Schedule after Nephrology visit.
  Nephrology                              05/19/2020            05/19/2020          Urgent                No
       Subtype:
             CKD Stage 3-4 Consult
          Reason for Request:
              Evaluation and treatment for kidney failure stage 4.
          Provisional Diagnosis:
               stage 4 kidney failure
               Please send all labs to office prior to visit.
Copay Required:No                               Cosign Required: No
Telephone/Verbal Order: No
Completed by Ford, Isaiah MD on 04/21/2020 14:31




Generated 04/21/2020 14:31 by Ford, Isaiah MD            Bureau of Prisons - PHX                                   Page 1 of 1
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                                                                                                   BOP-Fernandez000020
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Inmate Name:       FERNANDEZ, JUAN ALBERTO                                                 Reg #:         66884-112
Date of Birth:          /1983              Sex:      M   Race:WHITE                        Facility:      PHX
Note Date:         03/11/2020 09:54        Provider: Weissinger, Wayne NP                  Unit:          P03

New Laboratory Requests:
   Details                                               Frequency              Due Date                  Priority
   Lab Tests-T-TSH                                       One Time               03/30/2020 00:00          Routine
   Lab Tests-C-Comprehensive Metabolic Profile
   (CMP)
       Labs requested to be reviewed by:                Ford, Isaiah MD
New Consultation Requests:
  Consultation/Procedure                      Target Date Scheduled Target Date Priority               Translator    Language
  Vascular Surgery                            03/30/2020 03/30/2020             Routine                No
          Subtype:
             Vascular Evaluation
          Reason for Request:
               Vascular Surg - Assessment and consideration for Dialysis Access (AVF).
               dx - progressive CKD IV with GFR <20.
Copay Required:No                           Cosign Required: Yes
Telephone/Verbal Order: No
Completed by Weissinger, Wayne NP on 03/11/2020 10:17
Requested to be cosigned by Ford, Isaiah MD.
Cosign documentation will be displayed on the following page.




Generated 03/11/2020 10:17 by Weissinger, Wayne NP    Bureau of Prisons - PHX                                  Page 2 of 2
  Exhibit C, p. 3 of 4
                                                                                                BOP-Fernandez000022
                                                                        /
                                                                 08
              Case 8:14-cr-00008-JLS Document 79-3 ofFiled
                                         Bureau            08/31/20 Page 5 of 5 Page ID #:558
                                                       Prisons
                                                            Health Services




                                                     TO
                                                           Medical Duty Status
     Reg #: 66884-112                                      Inmate Name: FERNANDEZ, JUAN ALBERTO




                                           ER
     Housing Status
          confined to the living quarter ex ept             meals            pill line         treatments     Exp. Date:




                                                                                                                                   20
                               LB
          on complete bed rest:                  bathroom privileges only                                     Exp. Date:




                                                                                                                             0
      X cell:       cell on first floor      single cell X lower bunk       airborne infection isolation      Exp. Date:       02/25/2021




                                                                                                                          /2
                          A
      X other: Please allow inmate to wear soft/personal shoes                                                Exp. Date        02 24/2021




                                                                                                                 4
     Physical Limitation/Restriction
                   N




                                                                                                              /2
          all spo ts                                                                                          Exp. Da e
             A


          weightlif ng:        upper body               lower body                                            Exp. Date:




                                                                                                        08
       U



          cardiovascular exercise:            running      jogging     walking           softball             Exp. Date:
                                          football      basketball   handball        stationary equipment
    ,J




                                                                                              TO
          other:                                                                                              Exp. Date:
EZ




     May have the following equipment in his / her possession:




                                                                                 ER
     Equipment                                                                Start Date              End Date              Return Date
D




     Compression garment - leg                                                07/26/2018
                                                                      LB
     Eye Glasses                                                              02/09/2017
     Compression garment - leg                                                10/19/2016              07/26/2018
                                                                     A

     Brace - knee                                                             10/08/2015

     Work Restriction / Limitation:
                                                            N



     Cleared for Food Service: Yes
                                                        A



      X No Restrictions
                                                     U




                                                                                                                                            0
     Comments: Dental prosthetic medical old removed per request AHSA C. Dao. Inmate requires dialysis and thus
                                          ,J




               immediate transfer. Will n tify regional CDO.




                                                                                                                  TO
                                            Medrano, B. DMD                                                 04/08/2020
                              EZ




     Health Services Staff                                                                                     Date
                                                                                                                ER
     Inmate Name:          FERNANDEZ, JUAN ALBERTO                    Reg #:        66884-112         Quarters:     P02
                    D




     ALL EXPIRATION DATES ARE AT 24:00
                                                                                                              LB
                   N
                A




                                                                                                            A
     N
    R




                                                                                                    N
FE




                                                                                                A
                                                                                  U
                                                                                ,J
                                                                      EZ
                                                                     D




      Exhibit C, p. 4 of 4
     Generated 08/24/2020 12:22 by Gonzales, J Health Services   u a of Prisons - PHX                                         Page 1 of 1
                                                                                                                  BOP-Fernandez000110
